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PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR SATURDAY, DECEMBER 23, 2017
By Special Report - December 22, 2017




   For immediate release:

   December 22, 2017

   Contact:

   Shareese Churchill shareese.churchill@maryland.gov

   410-974-2316



   Public Schedule for Lt. Governor Boyd Rutherford for Saturday, December 23,
   2017
   ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Saturday,
   December 23, 2017 includes the following:


   Saturday, December 23, 2017



   11:00 AM: Lt. Governor Rutherford to distribute gifts to children at Annual MLK Center
   Holiday Party
   122 N. Vincent Street, Baltimore, MD 21223




                                                                                 Exhibit M
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 2 of 25


PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR TUESDAY, DECEMBER 19, 2017
By Special Report - December 18, 2017




   For immediate release:

   December 18, 2017

   Contact:

   Shareese Churchill shareese.churchill@maryland.gov

   410-974-2316



   Public Schedule for Lt. Governor Boyd Rutherford for Tuesday, December 19,
   2017
   ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Tuesday,
   December 19, 2017 includes the following:


   Tuesday, December 19, 2017



   12:30 PM: Lt. Governor Rutherford to make presentation to Accohannock Tribe
   representatives
   Governor’s Reception Room
   Maryland State House
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 3 of 25


PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR FRIDAY, DECEMBER 15, 2017
By Special Report - December 14, 2017




   For immediate release:

   December 14, 2017

   Contact:

   Hannah Marr hannah.marr@maryland.gov

   Shareese Churchill shareese.churchill@maryland.gov

   410-974-2316



   Public Schedule for Lt. Governor Boyd Rutherford for Friday, December 15, 2017
   ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Friday,
   December 15, 2017 includes the following:


   Friday, December 15, 2017


   10:00 AM: Lt. Governor Rutherford to deliver keynote address and receive honorary
   degree at Morgan State University December Commencement Ceremony
   Morgan State University, Talmadge Hill Field House
   1700 E. Cold Spring Lane, Baltimore, MD 21251
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 4 of 25


PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR SATURDAY, NOVEMBER 18, 2017
By Governor's Press O   ce - November 17, 2017




    For immediate release:

    November 17, 2017

    Contact:

    Hannah Marr hannah.marr@maryland.gov

    Shareese Churchill shareese.churchill@maryland.gov

    410-974-2316




    Public Schedule for Lt. Governor Boyd Rutherford for Saturday, November 18,
    2017
    ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for
    Saturday, November 18, 2017 includes the following:


    Saturday, November 18, 2017




    11:00 AM: Lt. Governor Rutherford to be special guest of honor at U.S.-Nigeria
    Executive Leadership Forum
    DoubleTree by Hilton Hotel Largo/Washington D.C.
    9100 Basil Court, Largo, MD 20774
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 5 of 25


PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR WEDNESDAY, OCTOBER 11, 2017
By Governor's Press O   ce - October 10, 2017




   For immediate release:

   October 10, 2017

   Contact:

   Hannah Marr hannah.marr@maryland.gov

   Shareese Churchill shareese.churchill@maryland.gov

   410-974-2316



   Public Schedule for Lt. Governor Boyd Rutherford for Wednesday, October 11,
   2017
   ANNAPOLIS, MD– The public schedule for Lt. Governor Boyd Rutherford
   for Wednesday, October 11, 2017 includes the following:



   Wednesday, October 11, 2017
   9:00 AM: Lt. Governor Rutherford to deliver remarks at MEGA Maryland Small &
   Minority Business Conference
   Martin’s West
   6817 Dogwood Road, Baltimore, MD 21244


   7:00 PM: Lt. Governor Rutherford to deliver remarks at community town hall meeting
   on opioid epidemic
   St. Paul’s Anglican Church
   1505 Crownsville Road, Crownsville, MD 21032
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 6 of 25


PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR WEDNESDAY, AUGUST 9, 2017
By Governor's Press O   ce - August 8, 2017




   For immediate release:

   August 8, 2017

   Contact:

   Hannah Marr hannah.marr@maryland.gov

   Shareese Churchill shareese.churchill@maryland.gov

   410-974-2316



   Public Schedule for Lt. Governor Boyd Rutherford for Wednesday, August 9, 2017
   ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford
   for Wednesday, August 9, 2017 includes the following:


   Wednesday, August 9, 2017



   6:00 PM: Lt. Governor Rutherford to attend the Howard County Fair
   Howard County Fairgrounds
   2210 Fairgrounds Road, West Friendship, MD
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 7 of 25


PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR TUESDAY, AUGUST 1, 2017
By Governor's Press O   ce - July 31, 2017




   For immediate release:

   July 31, 2017

   Contact:

   Hannah Marr hannah.marr@maryland.gov

   Shareese Churchill shareese.churchill@maryland.gov

   410-974-2316



   Public Schedule for Lt. Governor Boyd Rutherford for Tuesday, August 1, 2017
   ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford
   for Tuesday, August 1, 2017 includes the following:


   Tuesday, August 1, 2017



   11:00 AM: Lt. Governor Rutherford to deliver remarks at Henrietta Lacks Road Dedication

   Logan Village Shopping Center

   3409 Dundalk Avenue, Dundalk, MD 21222



   6:00 PM: Lt. Governor Rutherford to attend Charles County Sheriff’s Office National Night Out

   Waldorf Moose Lodge

   4765 Crain Highway, White Plains, MD 20695
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 8 of 25


PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR MONDAY, JULY 31, 2017
By Governor's Press O   ce - July 30, 2017




    For immediate release:

    July 30, 2017

    Contact:

    Hannah Marr hannah.marr@maryland.gov

    Shareese Churchill shareese.churchill@maryland.gov

    410-974-2316




    Public Schedule for Lt. Governor Boyd Rutherford for Monday, July 31, 2017
    ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for
    Monday, July 31, 2017 includes the following:


    Monday, July 31, 2017




    11:30 AM: Lt. Governor Rutherford to deliver remarks at Liberty Tree sapling
    planting
    Maryland State House Grounds
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PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
RUTHERFORD FOR SUNDAY, JULY 30, 2017
By Governor's Press O   ce - July 29, 2017




   For immediate release:

   July 29, 2017

   Contact:

   Hannah Marr hannah.marr@maryland.gov

   Shareese Churchill shareese.churchill@maryland.gov

   410-974-2316

   Public Schedule for Lt. Governor Boyd Rutherford for Sunday, July 30, 2017


   ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Sunday,
   July 30, 2017 includes the following:


   Sunday, July 30, 2017


   3:00 PM: Lt. Governor Rutherford to deliver remarks at Nigeria Carnival
   Veterans Plaza
   One Veterans Place, Silver Spring, MD 20910
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 10 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR SATURDAY, JULY 29, 2017
 By Governor's Press O   ce - July 28, 2017




    For immediate release:

    July 28, 2017

    Contact:

    Hannah Marr hannah.marr@maryland.gov

    Shareese Churchill shareese.churchill@maryland.gov

    410-974-2316



    Public Schedule for Lt. Governor Boyd Rutherford for Saturday, July 29, 2017
    ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Saturday,
    July 29, 2017 includes the following:


    Saturday, July 29, 2017


    11:00 AM: Lt. Governor Rutherford to deliver remarks at Ellicott City clock dedication
    and ood anniversary ceremony
    Corner of Main Street and Maryland Avenue
    Ellicott City, MD 21043
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 11 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR TUESDAY, JUNE 6, 2017
 By Governor's Press O   ce - June 5, 2017




  For immediate release:
  June 5, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Tuesday, June 6, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Tuesday,
  June 6, 2017 includes the following:


  Tuesday, June 6, 2017


  10:45 AM: Lt. Governor Rutherford to deliver remarks at The Atlantic Region National
  Service Training Conference
  Baltimore Marriott Inner Harbor at Camden Yards
  110 S. Eutaw Street, Baltimore, MD 21201
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 12 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR SUNDAY, JUNE 4, 2017
 By Governor's Press O   ce - June 3, 2017




  For immediate release:
  June 3, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Sunday, June 4, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Sunday, June
  4, 2017 includes the following:


  Sunday, June 4, 2017


  2:00 PM: Lt. Governor Rutherford to deliver remarks at Maryland Fire-Rescue Services
  Memorial
  101 Calvert Street, Annapolis, MD 21401
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 13 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR FRIDAY, MAY 26, 2017
 By Governor's Press O   ce - May 25, 2017




  For immediate release:
  May 25, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Friday, May 26, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Friday, May
  26, 2017 includes the following:


  Friday, May 26, 2017


  10:00 AM: Lt. Governor Rutherford to attend Naval Academy Graduation and
  Commissioning Ceremony
  Navy-Marine Corps Memorial Stadium
  550 Taylor Avenue, Annapolis, MD 21401
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 14 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR TUESDAY, MAY 16, 2017
 By Governor's Press O   ce - May 15, 2017




  For immediate release:
  May 15, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Tuesday, May 16, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Tuesday,
  May 16, 2017 includes the following:


  Tuesday, May 16, 2017


  11:00 AM: Lt. Governor Rutherford to deliver remarks at Fallen O cer Memorial
  Ceremony
  Tawes State O ce Building
  580 Taylor Avenue, Annapolis, MD 21401
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 15 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR SATURDAY, MAY 13, 2017
 By Governor's Press O   ce - May 12, 2017




  For immediate release:
  May 12, 2017
  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Saturday, May 13, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Saturday,
  May 13, 2017 includes the following:


  Saturday, May 13, 2017


  8:00 AM: Lt. Governor Rutherford to deliver Commencement Address at University of
  Maryland University College
  X nity Center
  1 Terrapin Trail, College Park, MD 20742
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 16 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR TUESDAY, MAY 2, 2017
 By Governor's Press O   ce - May 1, 2017




  For immediate release:
  May 1, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Tuesday, May 2, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Tuesday,
  May 2, 2017 includes the following:


  Tuesday, May 2, 2017


  12:00 PM: Lt. Governor Rutherford to deliver remarks at Governor’s O ce of the Deaf &
  Hard of Hearing Business Summit
  100 Community Place, Crownsville, MD 21032
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 17 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR SUNDAY, APRIL 2, 2017
 By Governor's Press O   ce - April 1, 2017




  For immediate release:
  April 1, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Sunday, April 2, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Sunday,
  April 2, 2017 includes the following:


  Sunday, April 2, 2017


  1:00 PM: Lt. Governor Rutherford to deliver remarks at the 28th Annual Memorial Service
  for Crime Victims and Their Families
  Catonsville High School
  421 Bloomsbury Avenue, Catonsville, MD 21228
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 18 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR WEDNESDAY, MARCH 22, 2017
 By Governor's Press O   ce - March 21, 2017




  For immediate release:
  March 21, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Wednesday, March 22, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Wednesday,
  March 22, 2017 includes the following:


  Wednesday, March 22, 2017


  10:00 AM: Lt. Governor Rutherford to chair Board of Public Works meeting
  Governor’s Reception Room
  Maryland State House
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 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR SATURDAY, MARCH 18, 2017
 By Governor's Press O   ce - March 17, 2017




  lg-header
  For immediate release:
  March 17, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Saturday, March 18, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Saturday,
  March 18, 2017 includes the following:


  Saturday, March 18, 2017


  11:00 AM: Lt. Governor Rutherford to deliver remarks at Verda Welcome Bridge and
  Exhibit Opening
  Morgan State University
  1700 E. Cold Spring Lane, Baltimore, MD 21251
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 20 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR MONDAY, MARCH 13, 2017
 By Governor's Press O   ce - March 12, 2017




  For immediate release:
  March 12, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Monday, March 13, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Monday,
  March 13, 2017 includes the following:


  Monday, March 13, 2017


  10:00 AM: Lt. Governor Rutherford to deliver remarks at Catonsville Courthouse
  groundbreaking
  6851 Johnnycake Road, Catonsville, MD 21244
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 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR THURSDAY, FEBRUARY 23, 2017
 By Governor's Press O   ce - February 22, 2017




  For immediate release:
  February 22, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Thursday, February 23, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Thursday,
  February 23, 2017 includes the following:


  Thursday, February 23, 2017


  5:00 PM: Lt. Governor Rutherford to present “Admiral of the Chesapeake” citation
  Hilton Garden Inn
  3206 Main Street, Grasonville, MD 21638
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 22 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR THURSDAY, JANUARY 12, 2017
 By Governor's Press O   ce - January 11, 2017




  For immediate release:
  January 11, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Thursday, January 12, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Thursday,
  January 12, 2017 includes the following:


  Thursday, January 12, 2017


  2:30 PM: Lt. Governor Rutherford to join Governor Hogan for press conference
  Governor’s Reception Room
  Maryland State House


  3:45 PM: Lt. Governor Rutherford to deliver remarks to Cecil County Chamber of
  Commerce at Cecil Night in Annapolis
  House of Delegates Chamber
  Maryland State House
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 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR TUESDAY, JANUARY 10, 2017
 By Stephanie Cornish - January 9, 2017




  For immediate release:
  January 9, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Tuesday, January 10, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Tuesday,
  January 10, 2017 includes the following:


  Tuesday, January 10, 2017


  4:00 PM: Lt. Governor Rutherford to attend Howard County Food Bank grand opening
  9385 Gerwig Lane, Suite J, Columbia, MD 21046
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 24 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR MONDAY, JANUARY 9, 2017
 By Governor's Press O   ce - January 8, 2017




  For immediate release:
  January 8, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Monday, January 9, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Monday,
  January 9, 2017 includes the following:


  Monday, January 9, 2017


  11:00 AM: Lt. Governor Rutherford to to join Governor Hogan in presenting proclamation
  for National Law Enforcement Appreciation Day
  Governor’s Reception Room
  Maryland State House
Case 1:18-cv-00461-SAG Document 52-14 Filed 01/31/20 Page 25 of 25


 PUBLIC SCHEDULE FOR LT. GOVERNOR BOYD
 RUTHERFORD FOR SUNDAY, JANUARY 8, 2017
 By Governor's Press O   ce - January 7, 2017




  For immediate release:
  January 7, 2017


  Contact:
  Hannah Marr hannah.marr@maryland.gov
  Shareese Churchill shareese.churchill@maryland.gov
  410-974-2316


  Public Schedule for Lt. Governor Boyd Rutherford for Sunday, January 8, 2017


  ANNAPOLIS, MD – The public schedule for Lt. Governor Boyd Rutherford for Sunday,
  January 8, 2017 includes the following:


  Sunday, January 8, 2017


  1:00 PM: Lt. Governor Rutherford to deliver remarks at ribbon cutting ceremony for
  Maryland’s rst net-zero energy school
  Wilde Lake Middle School
  10481 Cross Fox Lane, Columbia, MD 21044
